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   UNITED STATES
   DISTRICT COURT
   SOUTHERN DISTRICT OF
                                                                                        10/17/23
   NEW YORK

                                                              X
   ELETSON HOLDINGS, INC. and ELETSON                         :
   CORPORATION,                                               :              23-cv-7331 (LJL)
                                                              :
                                 Petitioners,                 :                   ORDER
                                                              :
                  -v-                                         :
                                                              :
   LEVONA HOLDINGS LTD.,                                      :
                                                              :
                                 Respondent.                  :
                                                              :
                                                              :
                                                              X
   LEWIS J. LIMAN, United States District
   Judge:


        The motion for reconsideration is denied. As Respondent itself notes, all that the
bankruptcy court could do in this matter would be to prepare and submit proposed findings of
fact and conclusions of law that would be reviewed de novo by this Court. Confirmation
proceedings are intended to be conducted on a summary and speedy basis. Respondent has
already filed its motion to vacate and Petitioner its motion to confirm. The Court is prepared to
consider those motions on the timetable submitted by the parties. The Court assumes it has the
authority to send this matter to the bankruptcy court and declines to exercise that authority.

       SO ORDERED.
       Date: 10/17/2023
       New York, New York
